         Case 3:20-cv-00219-GPC-BLM Document 3 Filed 02/12/20 PageID.12 Page 1 of 1


AO 399 (01/09) Waiver of the Service of Summons



                                        IJNITBo SrarpS DISTnTCT COURT
                                                                        for the
                                                               Southem District of California


                      ROBERT T. SHAFER
                                                                                  )
                           Plaintiff                                              )
                              v.                                                  )    Civil Action    No.     3:20-cv-00219-GPC-BLM
         MIDLAND CREDIT MANAGEMENT tNc.                                           )
                               Defendant                                          )

                                                \ilAIVER OF'THE SER\rICE OF SUMMONS

To:      Nicholas M. Wajda
                                                                                                                                                                i.
               (Name of the plaintiff's attorney or unrepresented     plaintffi
                                                                                                                                                                i';,
                                                                                                                                                                i':
                                                                                                                                                                ,.
        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

            I, or the entify I represent, agree to save the expense of serving a summons and complaint in this case.

          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                02t10t2020            , the date when this request was sent        days if it was sent outside the
United States). If I fail to do so, a default judgment   will be entered against                I represent.
                                                                                                                        z" (_

                                                                                                            of the attorney or unrepresented party

               Midland Credit Management, lnc.                                                                Thomas F. Landers
         Printed name of party waiving service of summons                                                          Printed name
                                                                                                          401 B Street, Suite 1200
                                                                                                           San Diego, CA92101

                                                                                                                      Address

                                                                                                           tlanders@swsslaw.com
                                                                                                                  E-mail address

                                                                                                                (619) 231-0303
                                                                                                                 Telephone number


                                             Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 ofthe Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver olservice requested by a plaintiff located in
the Unitéd States will be required to pay the expenses ofservice, unless the defenda¡t shows good cause for the failure.

            "Good cause" does nol include   a   beliefthat the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no   jurisdiction over this matter or over the defendant or the defendant's property.

            Ifthe waiver is signed and retumed, you     can   still make these and all other defenses and objections, but you cannot object to the absence of
a summons or     of service.

           Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
a¡d file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
